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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No. 8:20-cv-02314-JLS-KESx                                            Date: March 21, 2022

 Title: COVE USA LLC v. NO BAD DAYS ENTERPRISES, INCORPORATED et al.


 PRESENT:

           THE HONORABLE KAREN E. SCOTT, U.S. MAGISTRATE JUDGE

              Jazmin Dorado                                           Not Present
             Courtroom Clerk                                           Court Recorder

         ATTORNEYS PRESENT FOR                               ATTORNEYS PRESENT FOR
               PLAINTIFF:                                         DEFENDANT:
                  None Present                                        None Present


        PROCEEDINGS:                                    ORDER re Stipulation for Protective
                                                        Order (Dkt. 56)


         On March 18, 2022, the parties filed a stipulated proposed protective order. (Dkt. 56.)
 The Court declines to enter the proposed protective order but invites the parties to re-submit it
 after addressing the following issues:

         1.      Section 1: It is unclear if the intent of this paragraph is to bind non-parties to the
 obligations in this protective order. Typically, non-parties need to stipulate to be subject to a
 case protective order and then can received its benefits, like designating documents Confidential
 when they respond to a subpoena.

         2.      Section 5: Discovery motions filed with the Court must conform with Local Rule
 37-1 or Judge Scott’s procedures for telephonic hearings posted under “Judges’ Procedures and
 Schedules” on the Court’s website. Often, parties are not required to challenge confidentiality
 designations before a deadline, because the parties may not know immediately which documents
 are important. It is not efficient to bring motions over the designation of documents that no party
 plans to use to support its claims/defenses. The “form” protective order posted with Judge
 Scott’s Procedures and Schedules has appropriate model language.
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                                UNITED STATES DISTRICT COURT
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         3.     Section 6: This section purports to impose some duty to “retain custody” of
 Confidential documents that would apply to the Court and its staff as persons authorized to
 receive such documents. The Court’s duties are established by the local rules and not protective
 orders entered in individual cases.

        4.      Section 7.1(h): This suggests that only the judges “hearing this litigation” will
 have access to Confidential materials. Materials filed under seal are available to other judges
 and Court staff.

         5.      Section 7.4: Since this refers to “all persons” receiving Confidential information,
 it potentially applies to the Court and Court staff.

        6.     Section 7.5: The Court cannot authorize under seal filing in advance based
 simply on a Confidential designation. The “form” protective order posted with Judge Scott’s
 Procedures and Schedules has appropriate model language.

          7.    Section 8: Again, this section attempts to impose duties on the Court and Court
 staff.

        8.       Section 9: Discovery protective orders entered by magistrate judges do not
 address trial procedures.

        9.     Section 13.5: Again, discovery motions filed with the Court must conform with
 Local Rule 37-1 or Judge Scott’s procedures for telephonic hearings. The Court will not agree in
 advance to conduct an in camera review of disputed documents.

          10.   Section 18: Again, this section attempts to impose duties on the Court and Court
 staff.



                                                                      Initials of Deputy Clerk JD
